                IN THE UNITED STATES DISTRICT COURT FOR THE
              MIDDLE DISTRICT OF TENNESSEE, NASHVILLE DIVISION
                                                                                          Motion GRANTED.
JOHN DOE #12,

       Plaintiff,
                                                               Case No. 3:22-cv-00712
       vs.
                                                                   Judge Trauger
WILLIAM B. LEE, et al.,

       Defendants.


              PLAINTIFF’S MOTION TO PROCEED UNDER PSEUDONYM
                          AND FOR PROTECTIVE ORDER


       Plaintiff hereby moves the Court for permission to proceed in this action under the pseudo-

nym “John Doe #12” and to enter a protective order barring the disclosure of Plaintiff’s true name

or other information that identifies Plaintiff or Plaintiff’s family members, directly or indirectly,

and requiring that any documents containing such information be redacted or filed under seal.

       In support of this motion, Plaintiff relies upon his supporting memorandum and the entire

record in this case and states:

       1. Courts “may excuse plaintiffs from identifying themselves in certain circumstances”

where “a plaintiff’s privacy interests substantially outweigh the presumption of open judicial pro-

ceedings.” Doe v. Porter, 370 F.3d 558, 560 (6th Cir. 2004).

       2. Fed. R. Civ. Proc. 26(c) authorizes the Court to “make any order which justice requires

to protect the party or person from annoyance, embarrassment, oppression, or undue burden or

expense” upon motion of a party.

       3. Because of the stigma attached to sex offenders and sex offender registration, it is com-

mon for courts, including this Court, to allow sex offenders challenging the constitutionality of sex

offender registry laws to proceed under pseudonyms. See, e.g., Doe v. Lee, 3:16-cv-02862 (M.D.




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